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14                             IN THE UNITED STATES DISTRICT COURT
15
            FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16

17      COALITION FOR HUMANE IMMIGRANT
        RIGHTS, NATIONAL PARTNERSHIP FOR           ) CASE NO. 2:18-CV-08034
18      NEW AMERICANS, UNIDOSUS, CASA,             )
        EL RESCATE, MICHIGAN UNITED, MI            ) COMPLAINT FOR INJUNCTIVE AND
19
        FAMILIA VOTA, NEW YORK                     ) DECLARATORY RELIEF (FREEDOM OF
20      IMMIGRATION COALITION,                     ) INFORMATION ACT).
        ONEAMERICA,                                )
21
                                                   )
22               Plaintiffs,                       )
        - vs –                                     )
23
                                                   )
24      UNITED STATES CITIZENSHIP AND              )
                                                   )
25      IMMIGRATION SERVICES, DEPARTMENT
        OF HOMELAND SECURITY,                      )
26                                                 )
                 Defendant.                        )
27

28                                            _
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1

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                                              - ii -
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1                                                            I
2
                                                        INTRODUCTION
3
                  1. This is an action under the Freedom of Information Act, 5 U.S.C. § 552
4

5       (FOIA), to compel the United States Citizenship and Immigration Services (“USCIS”),
6
        to disclose public records of general, non-commercial value. Plaintiffs seek access to
7
        USCIS records which will further Plaintiffs’ study and assessment of the federal
8
9       Government’s costs, budget allocations for, policies and practices relating to the
10
        adjudication of and delays in processing N-400 naturalization applications. In response
11

12
        to Plaintiffs’ FOIA requests, the USCIS has failed to provide an actual determination

13      within the time limits prescribed by law, as to whether it will furnish or withhold
14
        requested records, and has refused to waive fees for processing Plaintiffs’ FOIA
15

16      Request. Plaintiffs sue to enforce their rights to access to non-commercial public

17      documents without fee, or at a reduced fee, and without further delay. Defendant’s
18
        extreme vetting of natualization applications and delays in the processing of these
19

20      applications denies thousands of lawful permanent residents the opportunity to more

21      fully participate in civic life and to vote in important uncoming elections.
22
                                                             II
23

24                                                      JURISDICTION

25                2. This Court has jurisdiction over this action pursuant to 5 U.S.C. §
26
        552(a)(4)(B) and 28 U.S.C. § 1331. Venue is properly in this judicial district pursuant
27

28      to 5 U.S.C. § 552(a)(4)(B) because several of the plaintiffs, including the Coalition for

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1       Humane Immigrant Rights and El Rescate have their principal places of business
2
        within the jurisdiction of the Central District of California. See 5 U.S.C. § 552(a)(4)(B)
3
        (“Under the FOIA, an agency may be sued in the district where the plaintiff resides or
4

5       has his principal place of business, or in the district where the records are located, or in
6
        the District of Columbia”).
7
                                                          III
8
9                                                       PARTIES
10
                  3. Plaintiff Coalition for Humane Immigrant Rights (CHIRLA) is headquartered
11

12
        in Los Angeles, California and is a non-profit organization working to achieve a

13      society inclusive of immigrants. CHIRLA organizes and serves individuals, institutions
14
        and coalitions to build power, transform public opinion, and change policies to achieve
15

16      full human, civil and labor rights for immigrants. CHIRLA is a “person” within the

17      meaning of 5 U.S.C. § 551(2), and is one of the organizations that requested access to
18
        Defendant’s records as alleged herein.
19

20                4. Plaintiff National Partnership for New Americans (NPNA) is a partnership

21      representing the collective power and resources of the country’s 37 regional immigrant
22
        and refugee rights organizations in 31 states. Its members provide services—including
23

24      naturalization, DACA renewal application processing, voter registration and health

25      care enrollment—for their communities, and they combine service delivery with
26
        organizing tactics to advance local, state and federal policies. NPNA is a “person”
27

28

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1       within the meaning of 5 U.S.C. § 551(2), and is one of the organizations that requested
2
        access to Defendant’s records as alleged herein.
3
                  5. Plaintiff UnidosUS (previously known as National Council of La Raza
4

5       (NCLR)) is headquartered in Washington, D.C. and is the nation’s largest Hispanic
6
        civil rights and advocacy organization. Through its combination of research,
7
        advocacy, programs, and an Affiliate Network of nearly 300 community-based
8
9       organizations UnidosUS challenges the social, economic, and political barriers that
10
        affect Latinos at the national and local levels. UnidosUS is a “person” within the
11

12
        meaning of 5 U.S.C. § 551(2), and is one of the organizations that requested access to

13      Defendant’s records as alleged herein.
14
                  6. Plaintiff CASA is headquartered in Maryland and is working to organize,
15

16      advocate for, and expand opportunities for Latino and immigrant people in the state of

17      Maryland. CASA does this by providing employment placement, workforce
18
        development and training, health education, citizenship and legal services, and
19

20      financial, language, and literacy training to Latino and immigrant communities

21      throughout the state. CASA is a “person” within the meaning of 5 U.S.C. § 551(2),
22
        and is one of the organizations that requested access to Defendant’s records as alleged
23

24      herein.

25                7. Plaintiff El Rescate is headquartered in Los Angeles, CA and is a non-profit
26
        corporation dedicated to empowering immigrants to improve their political and
27

28      economic well-being in order to promote their full participation as citizens. El Rescate

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1       is a “person” within the meaning of 5 U.S.C. § 551(2), and is one of the organizations
2
        that requested access to Defendant’s records as alleged herein.
3
                  8. Plaintiff Michigan United is headquartered in Michigan and is an organization
4

5       of community members and institutions fighting for the dignity and potential of every
6
        person. Michigan United is committed to participatory democracy at every level, an
7
        economy that works for the many, and society that dismantles racism while uplifting
8
9       our common humanity. Michigan United is a “person” within the meaning of 5 U.S.C.
10
        § 551(2), and is one of the organizations that requested access to Defendant’s records
11

12
        as alleged herein.

13                9. Plaintiff Mi Familia Vota has locations in Arizona, California, Texas,
14
        Colorado, Nevada, and Florida and is a national civic engagement organization that
15

16      unites Latino, immigrant, and allied communities to promote social and economic

17      justice through citizenship workshops, voter registration, and voter participation. Mi
18
        Familia Vota is a “person” within the meaning of 5 U.S.C. § 551(2), and is one of the
19

20      organizations that requested access to Defendant’s records as alleged herein.

21                10. Plaintiff New York Immigration Coalition (NYIC) is headquartered in New
22
        York and is a policy and advocacy organization that represents immigrant and refugee
23

24      rights groups throughout New York. The NYIC membership base includes

25      grassroots and nonprofit community organizations, religious and academic
26
        institutions, labor unions, as well as legal and socioeconomic justice
27

28      organizations. NYIC is an “organization” within the meaning of 5 U.S.C. § 551(2),

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1       and is one of the organizations that requested access to Defendant’s records as alleged
2
        herein.
3
                  11. Plaintiff OneAmerica is headquartered in Washington and is the largest
4

5       immigration and refugee advocacy organization in the state of Washington, organizing
6
        with and advocating for diverse communities including Latin, African, and Asian.
7
        OneAmerica advances the fundamental principles of democracy and justice at the
8
9       local, state, and national level by building power within immigrant communities in
10
        collaboration with key allies. OneAmerica is a “person” within the meaning of 5
11

12
        U.S.C. § 551(2), and is one of the organizations that requested access to Defendant’s

13      records as alleged herein.
14
                  12. Defendant United States Citizenship and Immigration Services (USCIS) is a
15

16      component agency of the United States Department of Homeland Security charged

17      with setting and implementing policies around naturalization and processing and
18
        adjudicating naturalization applications. Defendant USCIS also has custody and
19

20      control of the public records Plaintiffs requested pursuant to the FOIA, as alleged

21      herein.
22
                                                               IV
23

24                                                      FACTUAL ALLEGATIONS

25                  13. On August 6, 2018, Plaintiffs submitted a written request pursuant to 5
26
        U.S.C. § 552 (“FOIA Request”) to defendant USCIS seeking access to the following
27

28      categories of documents:

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1       •         All documents that report to USCIS Headquarters and those generated by
2
        USCIS Headquarters on numbers of approvals and denials of N-400 naturalization
3
        applications including but not limited to data compilations that in any way provide the
4

5       reasons for denials of N-400 naturalization applications.
6
        •         All documents compiling data submitted by one or more of the agency’s
7
        locations processing or adjudicating N-400 naturalization applications or produced by
8
9       USCIS Headquarters related to the volume of or reasons for RFEs (“Requests For
10
        Evidence”) and NOID (“Notices of Intent to Deny”) notifications issued in N-400
11

12
        cases.

13      •         All documents compiling data submitted by one or more of the agency’s
14
        locations processing or adjudicating N-400 naturalization applications or produced by
15

16      USCIS Headquarters related to the delay in processing N-400 applications.

17      •         All documents relating to funds allocated by Congress for the processing and/or
18
        adjudication of N-400 applications.
19

20      •         All documents compiling data that show the fees received with naturalization

21      applications, excluding documents relating to individual cases such as receipts,
22
        deposits, etc.
23

24      •         All documents regarding USCIS’s allocation of funds to its various facilities and

25      field offices for the processing or adjudication of N-400 applications.
26

27

28

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1       •         All documents relating in whole or in part to decisions by USCIS officials
2
        regarding allocations of funds to the processing centers and field offices for the
3
        adjudication of N-400 applications.
4

5       •         All documents that address or concern delays or backlogs in the processing time
6
        for naturalization applications.
7
        •         To the extent not provided in response to Request Number 8, all data
8
9       compilations and spreadsheets addressing in whole or in part delays or backlogs in the
10
        processing or adjudication of naturalization applications.
11

12
        •         To the extent not provided in response to a separate request, all documents

13      reporting on: (a) the volume of naturalization applications received; (b) where the
14
        applications were received; (c) where the applications were processed and adjudicated;
15

16      and (d) how long it took to fully process and adjudicate the naturalization applications.

17      •         All documents relating to inquiries from or responses to members of Congress
18
        relating to the delays in processing N-400 applications.
19

20      •         All documents including but not limited to memoranda, guidance, instructions,

21      or directives issued to facilities, centers, or field offices discussing policy or
22
        procedures to be followed in the processing or adjudication of N-400 applications.
23

24      •         All documents and data compilations sent to or prepared by the Administrative

25      Appeals Office addressing the number of pending and decided appeals of denials of N-
26
        400 applications and the outcome of those appeals. This request does not seek copies
27

28      of the individual appeals or decisions.

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1       •         All documents sent to or prepared by USCIS regarding delays in naturalization
2
        applications due to problems implementing or using the Electronic Immigration
3
        System (“ELIS”).
4

5       •         All documents and data relied upon in The Department of Homeland Security
6
        Ombudsman 2017 Annual Report To Congress regarding the USCIS (at
7
        https://www.dhs.gov/sites/default/files/publications/DHS%20Annual%20Report%202
8
9       017_0.pdf).
10
        •         All documents and data relied upon in The Department of Homeland Security
11

12
        Office of Inspector General Report “USCIS Has Been Unsuccessful in Automating

13      Naturalization Benefits Delivery,” dated November 30, 2017 (at
14
        https://www.oig.dhs.gov/reports/2018/uscis-has-been-unsuccessful-automating-
15

16      naturalization-benefits-delivery/oig-18-23).

17      •         All complaints filed by naturalization applicants or those acting on behalf of
18
        naturalization applicants regarding inappropriate, abusive, or discriminatory treatment
19

20      of naturalization applicants by USCIS employees.

21      •         All documents related to a review, update, or revision of the USCIS Fee Review
22
        Study described here: https://www.federalregister.gov/documents/2016/05/04/2016-
23

24      10297/us-citizenship-and-immigration-services-fee-schedule.

25      •         All documents relied upon, issued in response to, or to implement the change in
26
        the mission of USCIS announced on February 22, 2018 described here:
27

28

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1       https://www.uscis.gov/news/news-releases/uscis-director-l-francis-cissna-new-agency-
2
        mission-statement
3
        •         All documents received by USCIS from the White House or forwarded by
4

5       USCIS to the White House regarding in whole or in part the processing or adjudication
6
        of naturalization applications.
7
                  14. The FOIA Request asked Defendant USCIS to waive fees for processing
8
9       Plaintiffs’ request pursuant to 6 C.F.R. § 5.11(k) on the grounds (i) that Plaintiffs are
10
        non-profit organizations, and (ii) that the requested information will be used solely for
11

12
        humanitarian purposes

13                15. The FOIA Request also advised, “[i]f you find it impossible to produce all
14
        documents called for by this request within the statutorily prescribed time limits, please
15

16      produce all documents that are located by you within such time and advise us when

17      you believe the remainder of the documents requested will be produced.”
18
                  16. More than 30 days have passed since the request was submitted, and
19

20      Defendant has not notified Plaintiffs as to whether it will comply with their request.

21      Thus, under 5 U.S.C. § 552(a)(6)(A)(i) and 5 U.S.C. § 552(a)(6)(C), Plaintiffs has
22
        exhausted the applicable administrative remedies with respect to their FOIA request.
23

24                17. In light of Defendant’s non-response to Plaintiffs’ Request, an administrative

25      appeal is not required. Nevertheless, on September 14, 2018 Plaintiffs brought
26
        Defendant’s non-response to Plaintiffs’ Request to the attention of the agency by way
27

28      of administrative appeal.

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1                 18. Plaintiffs have private rights of action against Defendant USCIA, as pleaded
2
        herein, pursuant to 5 U.S.C. § 552 and the Administrative Procedure Act, 5 U.S.C. §
3
        706.
4

5                                                                 V
6
                                                        FIRST CLAIM FOR RELIEF
7
                                [Failure to Make Timely Determination of FOIA Request]
8
9                 19. Plaintiffs reallege and incorporate by reference ¶¶ 1 through 18 of this
10
        Complaint as though fully set forth here.
11

12
                  20. Plaintiffs have received no communication from USCIS that contains the

13      notification required by 5 U.S.C. § 552(a)(6)(A)(i). Defendant USCIS’s failure to
14
        respond within the statutory time limit violates 5 U.S.C. § 552(a)(6)(A) and prejudices
15

16      Plaintiffs by preventing them from undertaking any collateral action on Defendant’s

17      likely attempts to avoid producing the requested documents. Defendant’s failure to
18
        make a timely determination on Plaintiffs’ FOIA Request is arbitrary and capricious.
19

20      Thus, this determination renders Defendant USCIS in violation of 5 U.S.C. § 552, 6

21      C.F.R. § 5.5, the Administrative Procedure Act, 5 U.S.C. §§ 706, et seq., and the Due
22
        Process Clause of the Fifth Amendment to the United States Constitution.
23

24

25

26

27

28

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1                                                                 VI
2
                                                        SECOND CLAIM FOR RELIEF
3
                                              [Unlawful refusal to waive or reduce fees]
4

5                 21. Plaintiffs reallege and incorporate by reference ¶¶ 1 through 18 of this
6
        Complaint as though fully set forth here.
7
                  22. Plaintiffs’ FOIA Request seeks disclosure of documents without commercial
8
9       value and solely to further governmental transparency by allowing a study and
10
        assessment of the federal Government’s costs, budget allocations for, policies and
11

12
        practices relating to the adjudication of and delays in processing of N-400

13      naturalization applications. Defendant USCIS’s refusal to waive or reduce fees for
14
        processing Plaintiffs’ FOIA Request amounts to a violation of 5 U.S.C. § 552, 6 C.F.R.
15

16      § 5.11(k)(1), the Administrative Procedure Act, 5 U.S.C. §§ 706, et seq., and the Due

17      Process Clause of the Fifth Amendment to the United States Constitution.
18
                                                           PRAYER FOR RELIEF
19

20      WHEREFORE Plaintiffs pray this Court —

21                1. Enjoin Defendants from demanding fees, or refusing to reduce fees, as a
22
        condition of producing the records Plaintiffs’ FOIA Request seeks;
23

24                2. Enjoin Defendants from withholding the agency records Plaintiffs’ FOIA

25      Request seeks and require Defendants to produce such records forthwith, or in the
26
        alternative, to make a determination forthwith regarding Plaintiffs’ FOIA Request that
27

28      meets the requirements of 5 U.S.C. §552(a)(4)(G)(6) and 6 C.F.R. § 5.5;

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1                 3. Make a written finding pursuant to 5 U.S.C. § 552(a)(4)(F) that the
2
        circumstances surrounding Defendants’ withholding of the requested records raise
3
        questions whether agency personnel acted arbitrarily or capriciously with respect to
4

5       such withholding; and
6
                  4. Award Plaintiffs reasonable attorney’s fees and costs pursuant to 5 U.S.C. §
7
        552(a)(4)(E) or the Equal Access to Justice Act, 28 U.S.C. § 2412(d);
8
9                 5. Grant such other and further relief as Plaintiffs may seek or the Court may
10
        deem just and proper.
11

12
        Dated: September 17, 2018.                        PETER A. SCHEY
                                                          CARLOS R. HOLGUIN
13                                                        CENTER FOR HUMAN RIGHTS AND
14
                                                          CONSTITUTIONAL LAW

15                                                        AMY KAIZUKA
16
                                                          JULIA R. WILSON
                                                          ONEJUSTICE
17

18                                                        LUIS A. PEREZ JIMENEZ
                                                          CINTHIA NATALY FLORES
19                                                        COALITION FOR HUMANE IMMIGRANT
20                                                        RIGHTS

21                                                        ERIN C. GANGITANO
22                                                        ASIAN PACIFIC ISLANDER LEGAL
                                                          OUTREACH
23

24                                                        Signed: /s/ Peter A. Schey
                                                          Attorneys for plaintiffs
25

26
        ///
27

28

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